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                                                                                2017 Sep-20 PM 02:23
                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF ALABAMA
                         WESTERN DIVISION

JOHN SNODDERLY,                )
                               )
    Plaintiff,                 )
                               )
vs.                            )                    Case No. 7:17-cv-00979-TMP
                               )
JACOB LAW GROUP, PLLC, et al., )
                               )
    Defendants.                )


                            ORDER OF DISMISSAL

      On July 24, 2017, the plaintiff, John Snodderly, filed a Notice of Settlement

indicating that a settlement had been reached between the parties. (Doc. 9). On

September 20, 2017, the plaintiff filed a Notice of Voluntary Dismissal with

Prejudice pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure.

(Doc. 12). Although a court order is unnecessary to accomplish dismissal under

the rules, the court DISMISSES, WITH PREJUDICE, plaintiff’s claims against the

defendants. The parties are to bear their own costs, expenses, and attorney’s fees.

      The Clerk is DIRECTED to cancel the telephone conference set for Monday,

September 25, 2017, at 10:30 am.
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DONE and ORDERED on September 20, 2017.



                            _______________________________
                            T. MICHAEL PUTNAM
                            UNITED STATES MAGISTRATE JUDGE
